                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DMSION
                                 No. 7:23-CV-1041-D


CRAIGE ROBINSON,                                )
                                                )
                          Plaintiff,            )
                                                )
                 v.                             )               ORDER
                                                )
MOUNTAIRE FARMS OF                              )
NORTH CAROLINA CORP.,                           )
                                                )
                          Defendant.            )


       On June 1, 2023, Craige Robinson ("Robinson" or "plaintiff'') filed a complaint against

Mountaire Farms of North Carolina Corp. (''Mountaire" or "defendant") alleging (1) unlawful

termination in violation of the Americans with Disabilities Act ("ADA"), 42 U.S.C. § 12101 et

~ (2) failure to accommodate in violation of the ADA, (3) a per se violation of the ADA, and

(4) race discrimination in violation of Title VII of the Civil Rights Act of 1964 (''Title VII"), 42

U.S.C. § 2000e et seq. See [D.E. 1] W31-60. On April 18, 2024, Mountaire moved for summary

judgment [D.E. 22] and filed a memorandum in support [D.E. 23] and statement of material facts

[D.E. 24]. On April 19, 2024, Mountaire filed an appendix of exhibits [D.E. 25]. On May 20,

2024, Robinson responded in opposition [D.E. 27] and filed a response statement of material facts

[D.E. 28]. On June 3, 2024, Mountaire replied [D.E. 29]. As explained below, the court grants

Mountaire's motion for summary judgment.

                                                 I.

       In February 2016, Mountaire hired Robinson as an hourly employee. See Def. 's Statement

ofMaterial Facts (''DSMF") [D.E. 24] ,r 1; Pl.'s Statement of Material Facts (''PSMF") [D.E. 28]




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,r 1. In June 2018, Mountaire promoted Robinson to rehang supervisor, a salaried position. See
DSMF ,r 2; PSMF ,r 2.         The rehang supervisor job description included the following

responsibilities:

        •   Interviewing and training & development of employees;
        •   Planning production run a schedule for daily production;
        •   Ensure product meets customer specifications;
        •   Employee performance management and employee training;
        •   Ensuring machinery is operating efficiently and promptly communicates
            machine issues to [d]epartment [m]anager and [m]aintenance;
        •   Ensures employment safety, welfare, wellness and health;
        •   Maintains required records;
        •   Processes employee time sheets and absentee sheets;
        •   Monitors quality of incoming and outgoing products within department;
        •   Monitors usage of utilities and supplies;
        •   Ensures HACCP, GMP, SSOP, food safety[,] and safety standards are being
            followed and properly documented;
        •   Analyzes quality problems to determine root cause and communicates to
            [m]anagenient;
       •    Develop and implement plans to improve quality and maintains system to
            measure quality;
       •    Establish goals and priorities and accomplish goals and objectives set by the
            [c]ompany;
       •    Operate within established budget;
       •    Effectively communicates plans, process changes or modifications, and
            [c]ompany vision and mission;
       •    Recognize and reward contributions and milestones;
       •    Speak and write clearly and effectively;
       •    Manage conflict;
       •    Ensure proper Personal Protective Equipment (PPB) is being utilized by each
            employee;
       •    Perform other duties as assigned.

[D.E. 25-3] 7-8. The work environment required:

       •    Exposure to extreme ranging temperatures;
       •    Exposure to wetness and humidity;
       •    Exposure to high noise level;
       •    Works with, around[,] and near machinery and high speed assembly lines;
       •    Required to occasionally reach, bend, stoop, push, pull, and lift;
       •    Required to :frequently stand and walk.



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See id. at 8. 1 Robinson's day-to-day responsibilities included supervising six lines of workers as

they took chilled chickens off conveyors and rehung the chickens for further processing, managing

staffing on the lines, completing administrative paperwork, and managing the ice house. Compare

DSMF ,r 4, with PSMF ,r 4; see [D.E. 25-2] 5-9. To perform his duties, Robinson spent roughly

75 to 80 percent of his time walking the lines to ensure that the work proceeded smoothly and

occasionally voluntarily worked on the line himself to allow his leads to perform other tasks.

Compare DSMF ,i,r 4-7, 9, with PSMF ,i,r 4-7, 9; see [D.E. 25-2] 6. The floor Robinson supervised

did not have a chair or any other seating. See DSMF ,r 8; PSMF ,r 8.

       On August 29, 2021, an unknown assailant shot Robinson at a neighborhood cookout

resulting in serious injuries to his elbow and hip. See DSMF ,r 14; PSMF ,r 14; see [D.E. 25-2]

44--46. Robinson's injuries required surgery, several days in the hospital, further surgery to

remove stabilizing hardware, and an extended recovery period. See DSMF ,r 15; PSMF ,r 15. On

August 30, 2021, Mountaire placed Robinson on FMLA leave for the gunshot injury. See DSMF

,r 16; PSMF ,r 16. On September 15, 2021, and October S, 2021, Mountaire told Robinson that he
would exhaust his FMLA leave on October 19, 2021. See DSMF ,Mf 17, 19; PSMF ,Mr 17, 19.2

Mountaire also told Robinson that he would be eligible for long term disability benefits. See

DSMF ,r 18; PSMF ,r 18.

       On October 8, 2021, Robinson's doctor cleared him to return to work on October 20, 2021,

with restrictions until the doctor reevaluated him on November 3, 2021. See DSMF ,r 20; PSMF ,r

20.   Robinson could perform "seated work only with no use of the left arm and no



1  Robinson alleges there are exhibits corroborating his statements concerning his job description
from other employees. See, ~ PSMF ,r 10. These alleged exhibits are not in the record.
2 Robinson had already used a significant amount of his FMLA leave after contracting COVID-
19 twice. See DSMF ,Mr 12-13; PSMF ,Mr 12-13.
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lifting/pushing/pulling greater than [five pounds] with [his] right arm." DSMF ,r 20 (quotation

omitted); see PSMF ,r 20. On October 19, 2021, Robinson exhausted his FMLA leave. See DSMF

,r 21; PSMF ,r 21. On October 20, 2021, Robinson returned to work wearing a brace and still
experi~cing pain. See DSMF ,r 22; PSMF ,r 22; cf. DSMF ,r 24; PSMF ,r 24; [D.E. 24-1] 49;

[D.E. 24-1] 146.

       Robinson requested another leave of absence from November 2, 2021, to November 15,

2021. See DSMF ,r 24; PSMF ,r 24. Mountaire granted Robinson a personal leave of absence and

allowed Robinson to use the full balance of his vacation time. See DSMF ,r 21; PSMF ,r 21. On

November 5, 2021, Robinson's doctor maintained restrictions for seated work only, no use of

Robinson's left arm, and no lifting, pushing, or pulling greater than five pounds with his right arm

until the doctor reevaluated him on January 4, 2022. See DSMF ,r 23; PSMF ,r 23.

       Mountaire generally follows an interactive process when an employee requests ADA

accommodations to determine whether or how they can be met. Compare DSMF ,r 34, with PSMF

,r 34. As part of this process, following Robinson's restrictions update, Mountaire provided
Robinson with a list of physical demands for his job including: (1) must be able to stand and walk

for long periods of time continuously; (2) must be able to lift and carry up to 50 pounds,

occasionally; (3) must be able to climb and descend stairs occasionally, including bending,

kneeling, and reaching overhead; (4) must be able to push and pull occasionally; (5) must be able

to handle a wet and cold environment; (6) must ensure all safety inspection sheets and PPE

inspections are completed; (7) must monitor daily set-up of department; (8) must be able to

effectively manage the day-to-day production process of the assigned area; and (9) must ensure all

vacation requests, attendance reports, and lunch wash downs are completed Compare DSMF ff

10, 25, with PSMF ff 10, 25, and [D.E. 25-3] 7-8. Robinson provided the update to his doctor.


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See DSMF ,r 25; PSMF ,r 25.

       On November 22, 2021, Robinson's doctor examined him again and revised his work

restrictions to ''no ladders; no use ofleft arm; no lifting/pushing/pulling greater than [five pounds]

with [his] right arm; sedentary work with no standing/walking more than [one to four] hours a day

and has to sit 15 minutes every hour," until the doctor reevaluated him on January 4, 2022. DSMF

,r 26; see PSMF ,r 26. The parties dispute whether Mountaire "engaged in multiple exchanges with
Robinson and his [doctor] to determine what medical restrictions were necessary and whether it

would be possible to accommodate those restrictions." Compare DSMF ,r 26; with PSMF ,r 26;

see [D.E. 24-1] 54-55. Robinson took medications during this period for pain management,

including oxycodone and gabapentin. Compare DSMF ,r 28, with PSMF ,r 28.

       On November 23, 2021, Robinson met with Marcus Bell ("Bell"), the plant manager, and

Jeff Covington ("Covington"), the plant superintendent. See DSMF ,r 29; PSMF ,r 29. After

talking with Robinson, Bell took Robinson's medical paperwork to human resources and then

instructed Robinson to go to human resources. See DSMF ,r 33; PSMF ,r 33; [D.E. 24-1] 61--62.

       Bobbie Cogdell ("Cogdell"), Mountaire's director of occupational health, reviewed

Robinson's restrictions and determined that Mountaire could not reasonably accommodate

Robinson. Compare DSMF ,r 36, with PSMF ,r 36. Bell, Cogdell, David White ("White"),

Mountaire's director of processing, Terry Williams (''Williams"), Mountaire's director of human

resources, and Pamela Webster (''Webster''), Mountaire's complex human resources director, all

determined that Mountaire could not reasonably accommodate Robinson in the rehang supervisor

position. Compare DSMF ,r 37, with PSMF ,r 37. Furthermore, they determined that there were

''no available, vacant positions that [Robinson] could perform consistent with" his doctor's

restrictions. Compare DSMF ,r 37, with PSMF ,r 37. Thus, on November 30, 2021, due to



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Robinson's restrictions, his exhaustion of all available leave, and the unavailability of any suitable

vacant positions, Webster called Robinson to terminate his employment with Mountaire. Compare

DSMF ,r 38, with PSMF ,r 38.

       The parties dispute whether Mountaire could have reasonably accommodated Robinson.

Compare DSMF ,r 38, with PSMF ,r 38.                   The parties agree that Mountaire provided

accommodations to Covington when he broke an ankle and Jeff Maass when his doctor imposed a

five-pound lifting restriction. Compare DSMF ff 42-44, with PSMF ff 42-44. Unlike Covington

and Maass, Mountaire allowed Robinson to return to work once he had ''no medically imposed

work restrictions." Compl. [D.E. 1] ,r 28; Ans. [D.E. 7] 28. Robinson asserts that he repeatedly

met with Mountaire and requested reasonable accommodations, including using a stool or

highchair, distributing information through lead workers who reported to him, and other ways.

See [D.E. 27-1] ff 5, 15-21. Mountaire maintained that Robinson could only return to work

without restrictions. See id. at ff 5-6, 22. Moreover, Maass and Covington were both managers

whose jobs lacked a physical component. See DSMF ,r 45; PSMF ,r 45.

                                                 II.

       Summary judgment is appropriate when, after reviewing the record as a whole, the court

determines that no genuine issue ofmaterial fact exists and the moving party is entitled to judgment

as a matter of law. See Fed. R. Civ. P. 56(a); Scott v. Harris, 550 U.S. 372, 378, 380 (2007);

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). The party seeking summary

judgment initially must demonstrate the absence of a genuine issue of material fact or the absence

of evidence to support the nonmoving party's case. See Celotex Com. v. Catrett, 477 U.S. 317,

325 (1986). Once the moving party has met its burden, the nonmoving party may not rest on the

allegations or denials in its pleading, see Anderson, 477 U.S. at 248-49, but ''must come forward



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with specific facts showing that there is a genuine issue for trial." Matsushita Elec. Indus. Co. v.

Zenith Radio Com., 475 U.S. 574,587 (1986) (cleaned up). A trial court reviewing a motion for

summary judgment should determine whether a genuine issue of material fact exists for trial. See

Anderson, 477 U.S. at 249. In making this determination, the court must view the evidence and

the inferences drawn therefrom in the light most favorable to the nonmoving party. See Harris,

550 U.S. at 378.

       A genuine issue of material fact exists if there is sufficient evidence favoring the

nonmoving party for a jury to return a verdict for that party. See Anderson, 477 U.S. at 249. ''The

mere existence of a scintilla of evidence in support of the [nonmoving party's] position [is]

insufficient ...." Id at 252; see Beale v. Hardy, 769 F.2d 213, 214 (4th Cir. 1985) (''The

nonmoving party, however, cannot create a genuine issue of material fact through mere speculation

or the building of one inference upon another."). Only factual disputes that affect the outcome

under substantive law properly preclude summary judgment. See Anderson, 477 U.S. at 248.

                                                 A.

       Robinson alleges ADA wrongful termination and failure-to-accommodate claims against

Mountaire. See Compl. ,i,r 31-46. Title I of the ADA applies to employment and prevents

discrimination "against a qualified individual on the basis of disability in regard to job application

procedures, the hiring, advancement, or discharge of employees, employee compensation, job

training, and other terms, conditions, and privileges of employment." 42 U.S.C. § 12112(a). A

plaintiff may assert a Title I ADA claim against his employer based on (1) intentional

discrimination or disparate treatment; (2) disparate impact; and (3) failure to make reasonable

accommodations. See Raytheon Co. v. Hernandez, 540 U.S. 44, 52-53 (2003); Manning v. N.C.

State Univ., _F. Supp. 3d__, 2024 WL 1183066, at *6 (E.D.N.C. Mar. 19, 2024); Prenticev.



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North Carolina, No. 5:20-CT-3150, 2023 WL 2533164, at *4 (E.D.N.C. Mar. 3, 2023)

(unpublished), aff'd sub nom. Prentice v. Haynes, No. 23-6243, 2023 WL 6442566 (4th Cir. Oct.

3, 2023) (per curiam) (unpublished); see also A Helping Hand, LLC v. Bait. Cnty.• 515 F.3d 356,

362 (4th Cir. 2008). A plaintiff may prove such discrimination through direct evidence or through

the McDonnell Douglas burden-shifting framework. See Raytheon, 540 U.S. at 49-50 & n.3;

Trans World Airlines, Inc. v. Thurston. 469 U.S. 111, 121 (1985); McDonnell Douglas Corp. v.

Green, 411 U.S. 792, 802-04 (1973). Robinson has no direct evidence of illegal discrimination

under the ADA and relies on the McDonnell Douglas burden-shifting framework.

       Under the McDonnell Douglas framework: "(1) the plaintiff must first establish a prim.a

facie case of employment discrimination or retaliation; (2) the burden of production then shifts to

the employer to articulate a non-discriminatory or non-retaliatory reason for the adverse action;

(3) the burden then shifts back to the plaintiff to prove by a preponderance of the evidence that the

stated reason for the adverse employment action is a pretext and that the true reason is

discriminatory or retaliatory." Guessous v. Fairview Prop. Invs., LLC, 828 F.3d 208, 216 (4th Cir.

2016). If the plaintiff establishes a prima facie case, the burden shifts to the defendant to produce

evidence that the adverse employment action was "for a legitimate, nondiscriminatory reason."

Tex. De,p't ofCmty. Affs. v. Burdine, 450 U.S. 248,254 (1981). This burden is one of production,

not persuasion. See St. Mary's Honor Ctr. v. Hicks. 509 U.S. 502. 509-11 (1993). Ifthe defendant

offers admissible evidence sufficient to meet its burden of production, the burden shifts back to

the plaintiff to prove by a preponderance of the evidence that the employer's stated reasons were

merely a pretext for discrimination. See, ~ Reeves v. Sanderson Plumbing Prods., Inc .• 530

U.S. 133, 143 (2000); King v. Rumsfeld, 328 F.3d 145. 150--54 (4th Cir. 2003).




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       To survive summary judgment on his ADA wrongful termination claim, Robinson must

prove: "{l) he was a qualified individual with a disability; (2) he was discharged; (3) he was

fulfilling his employer's legitimate expectations at the time of discharge; and (4) the circumstances

of his discharge raise a reasonable inference of unlawful discrimination." Reynolds v. Am. Nat'l

Red Cross, 701 F.3d 143, 150 (4th Cir. 2012) (cleaned up); see Rohan v. Networks Presentations

LLC, 375 F.3d 266,272 & n.9 (4th Cir. 2004); Rhoads v. F.D.I.C., 257 F.3d 373,387 & n.11 (4th

Cir. 2001); Haulbrook v. Michelin N. Am.. Inc., 252 F.3d 696, 702 (4th Cir. 2001). To establish

a prima facie case for a failure-to-accommodate claim, Robinson must prove: (1) he has a disability

within the meaning of the ADA; (2) the employer had notice of his disability; (3) with a reasonable

accommodation, he could perform the essential functions of the position; and (4) the employer

refused to make such an accommodation. See,~ Cowgill v. First Data Techs., Inc., 41 F.4th

370, 378 (4th Cir. 2022); Wilson v. Dollar Gen. Com., 717 F.3d 337~ 345 (4th Cir. 2013). A

plaintiff's failure to prove any element of his prima facie case defeats his ADA claim. See Wilson,

717F.3dat345; see also EEOC v. Kohl'sDe,p't Stores, Inc., 774 F.3d 127, 131-32 (1st Cir. 2014).

       ''The qualified individual criterion and the reasonable _accommodation requirement are

interrelated." Jones v. Nationwide Life Ins. Co., 696 F.3d 78, 88 (1st Cir. 2012) (quotation

omitted). To establish either a wrongful termination or a failure-to-accommodate claim under the

ADA, a plaintiff must show that he is a qualified individual. See Jessup v. Barnes Qm., 23 F.4th

360,365 (4th Cir. 2020); Wilson, 717F.3dat344-45; Reynolds, 701 F.3dat 150; Rohan, 375 F.3d

at 273 & n.9. Robinson bears the burden of demonstrating that he is a qualified individual. See

Jessµp, 23 F.4th at 365; Halpern v. Wake Forest Univ. Health Scis., 669 F.3d 454,462 (4th Cir.

2012), abrogated on other grounds~ Baird ex rel. Baird v. Rose, 192 F.3d 462 (4th Cir. 1999).




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        The ADA defines a "qualified individual" as "an individual who, with or without

reasonable accommodation, can perform the essential functions of the employment position that

such individual holds or desires." 42 U.S.C. § 12111(8). The ADA defines "disability'' as "(A) a

physical or mental impairment that substantially limits one or more major life activities ...; (B) a

record of such an impairment; or (C) being regarded as having such an impairment (as described

in paragraph (3))." 42 U.S.C. § 12102(1); see 29 C.F.R. § 1630.2(g)(l).

       Determining whether an individual is a "qualified individual" focuses on ''the time of the

employment decision." Ross v. Ind. St. Teacher's Ass'n Ins. Trust, 159 F.3d 1001, 1013 (7th Cir.

1998) (quotation omitted). ''Being qualified is determined in relation to the essential functions of

the job, and reasonable accommodation by the employer does not require the eUmination of an

essential function of the job." Jones, 696 F.3d at 88 (quotation offl:itted). Likewise, the ADA does

not require an employer to create a new job (or recreate an old job) to enable an employee with a

disability to work See,~ Mulloy v. Acushnet Co., 460 F.3d 141, 153-54 (1st Cir. 2006);

Graves v. Finch Pruyn & Co. Inc., 457 F.3d 181, 186--87 (2d Cir. 2006); Lamb v. Oualex, Inc., 33

F. App'x 49, 59 (4th Cir. 2002) (unpublished); Smith v. Midland Brake. Inc., 180 F.3d 1154, 1175

(10th Cir. 1999) (en bane) (collecting cases); Shiring v. Runyon, 90 F.3d 827, 831-32 (3d Cir.

1996); Allen v. City of Raleigh, 140 F. Supp. 3d 470, 482-83 (E.D.N.C. 2015).

       Under the ADA, "[a]n essential function is a fundamental job duty of the position at

issue .... The term does not include marginal tasks but may encompass individual or idiosyncratic

characteristics of the job." Jones, 696 F.3d at 88 (quotation omitted); Tyndall v. Nat'l Educ. Ctrs.,

Inc. of Cal., 31 F.3d 209,213 (4th Cir. 1994). "[C]onsideration shall be given to the employer's

judgment as to what functions of the job are essential, and if an employer has prepared a written

job description before advertising or interviewing applicants for the job, the description shall be


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considered evidence of the essential functions of the job." 42 U.S.C. § 12111(8). In analyzing a

job's essential functions, courts consider not only the employer's judgment and written job

description but also the work experience of current and former incumbents who held thejob. See

Jones, 696 F.3d at 88; 29 C.F.R. § 1630.2(n).

       The failure-to-accommodate inquiry generally proceeds in two steps: (1) whether the

specific accommodation that the disabled employee requested was reasonable and (2) if the

employer granted the reasonable accommodation, whether the disabled employee could perform

the essential functions of the job. See Jacobs v. N.C. Admin. Office of the Courts, 780 F.3d 562,

580-81 (4th Cir. 201S). Before addressing these two questions, especially in a case involving an

alleged physical disability, the employer and the employee must understand the employee's

specific, physical limitations in order to permit the employer and employee to assess any proposed

accommodation. See id. at S81-82. After all, a reasonable accommodation ''is connected to what

the employer knows about the specific limitations affecting an employee who is a qualified

individual with a disability." Jackson v. City of Chi., 414 F.3d 806, 813 (7th Cir. 200S); see 42

U.S.C. § 12112(b)(5)(A); Beck v. Univ. of Wis. Bd. of Regents, 75 F.3d 1130, 1135 (7th Cir.

1996). Moreover, the ADA contemplates an open, interactive process between the employer and

employee to "identify the precise limitations resulting from the disability and the potential

reasonable accommodations that could overcome the limitations." 29 C.F.R. § 1630.2(0)(3); see

Kohl's, 774 F.3d at 132-33 (1st Cir. 2014); Wilson, 717 F.3d at 346--47 (4th Cir. 2013); Cloe v.

City of Indianapolis, 712 F.3d 1171, 1178-79 (7th Cir. 2013); Hop_pe v. Lewis Univ., 692 F.3d

833, 840-41 (7th Cir. 2012); Griffin v. United Parcel Serv.. Inc., 661 F.3d216, 224 (5th Cir. 2011);

EEOC v. Agro Distribution, LLC, SSS F.3d 462, 471-72 (5th Cir. 2009); Conneen v MBNA Am.

Bank N.A., 334 F.3d 318, 329-34 (3d Cir. 2003); Loulseged v. Akzo Nobel Inc., 178 F.3d 731,



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734-36 (5th Cir. 1999); Ross, 159 F.3d at 1013-1S; Steffes v. Ste.pan Co., 144 F.3d 1070. 1072-

73 (7th Cir. 1998); Beck. 75 F.3d at 1134-37.

       A written description prepared before advertising or interviewing applicants is relevant to

whether a particular function is essential. See 29 C.F.R. § 1630.2(n)(3)(ii). Nonetheless, "[t]he

employer's judgment," "[t]he amount of time spend on the job performing the function," "[t]he

consequences of not requiring the incumbent to perform the function," and "current work

experience" are all relevant evidence of essential function.      Id at § 1630.2(n)(3)(i)-(vii).

Moreover, the employer's business judgment merits "considerable deference from the courts."

Elledge v. Lowe's Home Ctrs., 979 F.3d 1004, 1009 (4th Cir. 2020) (quotation omitted).

       A court reviewing an ADA failure-to-accommodate claim must carefully review the

interactive process. See, ~ Hoppe, 692 F.3d at 840. "The interactive process involves an

informal dialogue between the employee and the employer in which the two parties discuss the

issues affecting the employee and potential reasonable accommodations that might address those

issues." Kohl's, 774 F.3d at 132. The interactive process requires bilateral cooperation, open

communication, and good faith. See id. "If an employer engages in the interactive process with

the employee in good faith, for the purpose of discussing alternative reasonable accommodations,

but the employee fails to cooperate in the process, then the employer cannot be held liable under

the ADA for failure to provide reasonable accommodations." Id.: see Agro Distribution, LLC,

SSS F.3d at 472: Jackson, 414 F.3d at 813-114: Loulseged, 178 F.3d at 738-40: Ross, 159 F.3d at

1014-1S: Steffes, 144 F.3d at 1072-73; Beck. 75 F.3d at 1134-36. Situations exist, however,

where no reasonable accommodation can ultimately suffice even after fully engaging in the

interactive process. See,~ Elledge, 979 F.3d at 1012-13.




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       The ADA defines ''reasonable accommodation" as one that "may include job restructuring,

part-time or modified work schedules, reassignment to a vacant position, acquisition or

modification of equipment or devices, appropriate adjustment or modifications of examinations,

training materials or policies ... and other similar accommodations ...." 42 U.S.C. § 12111(9);

see Elledge, 979 F.3d at 1011. This definition is illustrative, not exhaustive, and sensitive to the

particular circumstances of the case. See Elledge, 979 F.3d at 1011. Moreover, ''the ADA does

not require an employer to reassign any of the essential functions of a disabled employee, nor does

it require an employer to hire additional employees to perform an essential function." Stg,henson

v. Pfizer, Inc., 641 F. App'x 214, 219 (4th Cir. 2016) (per curiam) (unpublished); see Martinson

v. Kinney Shoe Com., 104 F.3d 683,687 (4th Cir. 1997). Rather, the employer must accommodate

a disabled employee when an accommodation "would enable the employee to perform all of the

essential functions of [his] position." Jacobs, 780 F.3d at 581 (emphasis omitted). Although the

reasonableness analysis is often fact specific, "a court may grant summary judgment in favor of a

defendant if the plaintiff fails to present evidence from which a jury may infer that the

accommodation is reasonable on its face." Halpern, 669 F.3d at 464 (quotation omitted); U.S.

Airways, Inc. v. Barnett, 535 U.S. 391, 401--02 (2002).

       Mountaire argues that Robinson fails to demonstrate that he was a "qualified individual"

with a disability under the ADA. [D.E. 23] 19-23. Robinson responds that Mountaire relies upon

a "fabricated job description" to support its argument. [D.E. 27] 4; see also id. at 3-8. Mountaire

replies that it created the functional description as part of the interactive process between

Robinson, his doctor, and Mountaire and that the functional description reflects Mountaire's

judgment concerning the essential functions of the rehang supervisor job. See [D.E. 29] 8-12.




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         Mountaire forecasts evidence that Robinson's restrictions :from his doctor made it

"impossible" for Robinson to perform the essential functions of his job as rehang supervisor. [D.E.

29] 5. During the inform.al interactive process between Robinson and Mountaire, Mountaire gave

Robinson a summary of the functional requirements for the rehang supervisor position for

Robinson to share with his doctor. See [D.E. 23] 17. Mountaire's description of the functional

requirements of the rehang supervisor position comports with Robinson's testimony of his work

experience in that position. Robinson spent 75 to 80 percent of his time walking the facility floor.

See DSMF ,r 7; PSMF ,r 7; [D.E. 25-2] 8. Robinson's production area had no chair or other seating.

See DSMF ,r 8; PSMF ,r 8; [D.E. 25-2] 14-15. In order to supervise his six lines, Robinson walked

the lines to ensure that the work proceeded smoothly. Compare DSMF ,r 4, with PSMF ,r 4; see

also [D.E. 25-2] 5. Effective management of the fast-paced production lines required Robinson to

shift workers around the lines if some lines went down or needed to accelerate. See [D.E. 25-2]

8-9.

         During several rounds of follow-up examinations, Robinson's doctor imposed functional

restrictions for Robinson's potential return to work. See [D.E. 23] 16-17. At first, Robinson's

doctor restricted him to only sedentary work but later revised that restriction to walking or standing

no more than four hours a day, with fifteen minutes of rest every hour, no use of his left arm, no

use of ladders, and no lifting, pushing, or pulling more than five pounds with his right arm. See

id.    The undisputed factual evidence demonstrates a direct conflict between the functional

requirements for the rehang supervisor to be on his feet for a significant majority of the shift to

effectively supervise the facility floor and Robinson's doctor-imposed restriction that he spend no

more than four hours a day walking or standing with a fifteen minute rest every hour.




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        In opposition to this conclusion, Robinson argues that Mountaire did not prepare its

functional job description ''before advertising or interviewing applicants for the job" but rather

created it after Robinson provided his medical restrictions. [D.E. 27] 3. Robinson also argues that

Mountaire has not proven that he could not perform his supervisory duties as listed in the

production supervisor job description summary. See id at 4-8; [D.E. 27-3].

        Mountaire's pre-hire position summary ''required [Robinson] to frequently stand and

walk." [D.E. 25-3] 8. Moreover, the employer's business judgment, Robinson's testimony about

his work experience, and the consequences of not requiring the incumbent to perform these

functions, comport with the conclusion that the rehang supervisor must stand or walk for a

significant majority of the shift to perform the position's supervisory duties. See, ~ Elledge,

979 F.3d at 1009-10. Furthermore, the court rejects Robinson's unsubstantiated contention that

Mountaire fabricated the functional job description.

        Robinson also argues that his surreptitious recordings of Bell prove that Bell disagreed

with the functional job description Mountaire gave to Robinson. See [D.E. 27-1] ,r 10. Robinson,

however, cannot rely on inadmissible hearsay to create a genuine issue of material fact. See Fed.

R. Civ. P. 56(c)(2); Evans v. Techs. Am,lications & Serv. Co., 80 F.3d 954, 962 (4th Cir. 1996);

Vinal v. Fed. Nat. Mortg. Ass'n., 131 F. Supp. 3d 529, 536 (E.D.N.C. 2015). Moreover,

Robinson's testimony that his normal work experience involved standing or walking for 75 to 80

percent of his shift defeats his argument that Mountaire fabricated the functional job description.

Thus, even viewing the evidence in the light most favorable to Robinson, Robinson could not

perform the essential functions of the rehang supervisor position without accommodation.

Accordingly, the court must consider whether a reasonable accommodation was available to allow

Robinson to perform the essential functions of the position. See, e..:.&., Halpern, 669 F.3d at 464.


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       Mountaire argues that Robinson fails to meet his burden to identify a reasonable

accommodation. See [D.E. 23] 23-25. Robinson responds that he could have performed his

essential functions on his own with his medical restrictions by sitting at a fixed location on the

floor in a stool or highchair or by relying on his lead workers to relay his supervisory instructions.

See [D.E. 27] 8, 14; [D.E. 27-1] ,m 15-21. Mountaire replies that (1) the conclusions Robinson

draws from his testimony are matters of opinion, not fact, (2) Robinson acknowledged that the

floor area contained no seating, and (3) there was no vacant position for Robinson to fill. See

[D.E. 29] 1-2.

       Even viewing the evidence in the light most favorable to Robinson, the court rejects

Robinson's arguments.      Robinson's conclusory opinion that he could perform the essential

functions with his medical restrictions does not suffice to rebut the facial incompatibility between

his medical restrictions and the essential functions of the rehang supervisor position. See, ~

Wai Man tom v. Hosp. Ventures, LLC, 980 F.3d 1027, 1041-42 (4th Cir. 2020). Moreover,

Robinson fails to meet his burden to show that a seated, stationary supervisor could perform the

essential functions of the rehang supervisor position. Notably, Robinson acknowledged that the

facility floor contained no seating and testified that the fast-paced production area he supervised

contained six production lines in a relatively small space. See [D.E. 25-2] 9, 14-15. Robinson

forecast no evidence that a seated, stationary supervisor could safely fit within those working

conditions. Finally, Robinson's suggestion that he could delegate tasks to team leads is not a

reasonable accommodation. The ADA does not require Mountaire to reassign essential functions

to other employees or alter the basic operations of the facility floor. See, ~ Stephenson, 641 F.

App'x at 219; EEOC v. Amego, Inc., 110 F.3d 135, 148 (1st Cir. 1997); Martinson, 104 F.3d at

687; Reigel v. Kaiser Found. Health Plan ofN.C.,. 859 F. Supp. 963, 973 (E.D.N.C. 1994).



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       Robinson fails to identify a reasonable accommodation that could have enabled him to

perform the essential functions of the rehang supervisor position. Thus, Robinson was not a

qualified individual under the ADA. See,~ Jessup, 23 F.4th at 365-67. Accordingly, the court

grants summary judgment to Mountaire on Robinson's ADA wrongful termination and failure-to-

accommodate claims.

                                               B.

       Robinson also claims that Mountaire committed a per se ADA violation by maintaining a

policy that an employee must obtain medical clearance from all restrictions before returning to

work. See Compl. ,r 40. Robinson argues that Mountaire admitted in its answer that it required

Robinson to be cleared of all restrictions before he returned to work See [D.E. 27] 20-22.

       The court rejects Robinson's argument. Mountaire's admissions only pertain to Robinson

and the particular circumstances of his restrictions and potential return to work Compare Compl.

W19, 22, 27-28, with Ans. W19, 22, 27-28. Mountaire's answer admits that Robinson could not
return to work without medical clearance from his restrictions because of its determination that

Robinson "could not perform the essential functions of his job with or without reasonable

accommodations." Ans. W 19, 22, 27, 28. These admissions are not evidence of a zero-

accommodation policy. Moreover, even if the admissions were some evidence of such a policy,

Robinson's testimony defeats this allegation. See DSMF ff 42--44; PSMF ff 42--44. Accordingly,

the court grants f;nmmary judgment to Mountaire on Robinson's per~ ADA violation claim.

                                               C.

       Alternatively, "the McDonnell Douglas presumption places upon the defendant the burden

of producing an explanation to rebut the prima facie case." Hicks, 509 U.S. at 506--07. ''The




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defendant must clearly set forth, through the introduction of admissible evidence," legitimate,

nondiscriminatory reasons for the adverse employment action. Burdine, 450 U.S. at 255.

       Mountaire forecasts evidence that Robinson had exhausted all available leave. Exhaustion

of all available leave is a legitimate non-discriminatory reason for terminating an employee's

employment. Cf. Vines v. Mountaire Farms, Inc., No. 23-1365, 2024 WL 1254174, at *5 (4th Cir.

Mar. 25, 2024) (per curiam) (unpublished). Even viewing the evidence in the light most favorable

to Robinson, Robinson fails to produce evidence that his termination was pretextual and

discriminatory. See,~ Reeves, 530 U.S. at 143--44; King, 328 F.3d 145, 150-54. Accordingly,

the court grants Mountaire summary judgment on Robinson's ADA claims.

                                               D.
       As for Robinson's Title VII race discrimination claim, Robinson did not respond to

Mountaire's motion for summary judgment.         See [D.E. 27]. Nevertheless, the court must

determine if there are genuine issues of material fact that could support Robinson's claim. See

Robinson v. Wix Filtration Cor;p. LLC, 599 F.3d 403, 409 n.8 (4th Cir. 2010): Tyler v. Prince

George's Cnty., Mazyland, 16 F. App'x 191, 192 (4th Cir. 2001) (per curiam) (unpublished). After

considering the evidence, Robinson's speculative contentions fail to establish a prima facie case

of race discrimination. See Giles v. Nat'l R.R. Passenger Cor;p. (AMTRAK), 59 F.4th 696, 703-

05 (4th Cir. 2023); Bryant v. Bell Atl. Maryland, Inc., 288 F.3d 124, 133-35 (4th Cir. 2002); see

also Coleman v. Md. Court of Ameals, 626 F.3d 187, 190-91 (4th Cir. 2010), aff'd sub nom. •

Coleman v. Ct. of Ameals of Maryland, 566 U.S. 30 (2012). Accordingly, the court grants

summary judgment to Mountaire on Robinson's Title VII race discrimination claim.

                                              m.
       In sum, the court GRANTS defendant's motion for summary judgment [D.E. 22].


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Defendant may file a motion for costs in accordance with the Federal Rules of Civil Procedure and

this court's local rules. The clerk shall close the case.

       SO 9RDER.EI>~ .~s A:_ day of November, 2024.




                                                            JSC.DEVERID
                                                            United States District Judge




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